        Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 1 of 15




                                    STATEMENT OF FACTS

        Your affiant, Nicholas Shepard, is a Special Agent of the Federal Bureau of Investigation
(“FBI”), and has been so employed since 2008. From 2008 through early 2013, I was assigned to
the Mobile Division, and specifically to a counterterrorism squad. Since February 2013, I have
been assigned to the FBI’s Dallas Division. During that time I have been assigned at various times
to the white collar crime squad, responsible for conducting investigations of complex financial
crimes, including wire fraud, mail fraud, and securities fraud; counterterrorism squad, responsible
for conducting investigations into violations of various national security laws; and foreign
counterintelligence squad, responsible for conducting investigations into foreign
counterintelligence activities, as well as violations of the federal export and espionage laws. In
September 2020, I transferred within the Dallas Division to the Frisco Resident Agency, where I
currently primarily investigate complex financial fraud and health care fraud. I also currently assist
with other investigations as needed, such as those related to domestic terrorism, and criminal
activity in and around the U.S. Capitol grounds on January 6, 2021.

        In addition to these investigative and supervisory duties, I have spent over ten years as a
SWAT operator in the Mobile and the Dallas Divisions. As a Special Agent with the FBI, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

                                            Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, DC. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
        Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 2 of 15




around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Unlawful Entry into Restricted Grounds
                         and Assault of Officers T.T. and R.C. at the U.S. Capitol

        A number of law enforcement officers were assaulted while attempting to prevent rioters
from entering the U.S. Capitol. These assaults occurred both inside the Capitol building, as well
as on the steps outside of the Capitol and on the grounds of the Capitol.

       The FBI has obtained bodyworn camera (“BWC”) footage from the Metropolitan Police
Department (“MPD”) that depicts an assault of MPD Officer T.T. (“T.T.”) and MPD Officer R.C.
(“R.C.”) that occurred on the Capitol grounds, near the bike rack barricade line at the base of the
West Front of the Capitol building, several yards from the media tower. T.T. and R.C. had been
dispatched to that location in order to assist U.S. Capitol Police officers with protecting the Capitol
grounds and building.

        Your affiant reviewed BWC footage depicting the assault. 1 As seen in the BWC footage,
at approximately 2:09:28 pm, T.T., R.C., and other officers begin struggling against rioters who
are refusing repeated orders to step back from the barricade and are attempting to breach the police
line. As the struggle ensues, a male individual wearing a red, white, and blue “Trump” beanie hat,
red and white scarf, gray or silver jacket, blue jeans, red and white “Nike” shoes, and gray
backpack with a red logo on the back—later identified as Mark Middleton (“MMIDDLETON”)—
pushes against the barricades and the police line with his body. As officers repeatedly order
MMIDDLETON and other rioters to “get back,” MMIDDLETON is heard yelling “fuck you!” as
he continues pushing against the barricade.




1
 BWC footage designated with X6039BD7G was obtained from T.T.’s bodyworn camera.
BWC footage designated with X6039BCM1 was obtained from R.C.’s bodyworn camera.
                                                  2
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 3 of 15




       MMIDDLETON struggles against the officers for more than thirty seconds. At
approximately 2:10:04 pm, MMIDDLETON grabs onto T.T.’s left hand or wrist and appears to


                                           3
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 4 of 15




pull T.T.’s body forward, as MMIDDLETON reaches his other arm across the barricade toward
T.T.




                                           4
        Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 5 of 15




        At the same time, a female individual wearing a red, white, and blue “Trump 2020” beanie
hat, red, white, and blue scarf, gray jacket, red shirt, and gold ring with what appears to be
diamonds—later identified as Jalise Middleton (“JMIDDLETON”)—repeatedly grabs and strikes
T.T. over the barricade with her hand.




                                               5
Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 6 of 15




                               6
     Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 7 of 15




     When R.C. tries to defend T.T. from MMIDDLETON and JMIDDLETON,
JMIDDLETON strikes R.C. in the arm.


                                    7
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 8 of 15




        MMIDDLETON and JMIDDLETON continue grappling with and striking T.T. and R.C.
as various flags are jabbed toward the officers’ faces.




                                         8
        Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 9 of 15




        At approximately 2:10:10 pm, six seconds after the assault began, T.T. deploys chemical
spray forcing MMIDDLETON and JMIDDLETON to retreat back from the barricade line.

        The FBI received a report from the Fort Worth Intelligence Exchange Fusion Center that
it had compiled on January 7, 2021. The report provided information indicating that a husband

                                              9
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 10 of 15




and wife from Forestburg, TX, Mark Fulton Middleton, DOB **/**/1969, SSN ***-**-9656, and
Jalise Sutton Middleton, DOB **/**/1970, SSN ***-**-9670, had taken part in the storming of
the U.S. Capitol on January 6, 2021. This assessment was based on publicly available postings
that MMIDDLETON and JMIDDLETON made to their Facebook accounts on or about January
6, 2021. Specifically, MMIDDLETON posted a video to his Facebook account 100000248042806
(mark.middleton.35) in which he is heard stating the following:

       “We are on the front lines. We helped push down the barriers. Jalise and I got
       pepper sprayed, clubbed, and tear gassed. We had to retreat, but more patriots
       pushed forward, and they’re taking back our house. They’ve got the giant flag up
       on the upper terrace up there. No more fooling around! Jalise and I gotta go back
       to the hotel and try to recoup and change, get dry clothes on. Make America great
       again! Freedom!”

The video is taken from a vantage point on the Capitol grounds in close proximity to the western
side of the Capitol building, approximately 100 yards from the steps leading up from the Capitol
grounds to the back of the building.

        MMIDDLETON also posted other videos and photographs to his Facebook profile
documenting his visit to Washington, DC on or about January 6, 2021. Three of these photos,
posted at approximately 15:45 hours on January 6, 2021, were taken from various positions within
the vicinity of the Capitol building.




       MMIDDLETON also posted comments from his Facebook account on January 6 and 7,
2021, corroborating his statements from the aforementioned video:

       •   January 6, 2021, at 15:35 hours: “I just got gassed by the Capital Police”

       •   January 6, 2021, at 15:39 hours: [in response to being asked “Happy gas or the nasty
           kind?”] “Nasty kind.”


                                               10
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 11 of 15




       •   January 6, 2021, at 16:58 hours: “We were in the thick of it.”

       •   January 6, 2021, at 17:15 hours: “I got tear gassed pepper sprayed and clubbed.”

       •   January 6, 2021, at 19:29 hours: [in response to being asked “Did you really storm the
           capital?”] “We did not. When we were on the steps no one was on the inside or on the
           upper balconies outside.”

       •   January 7, 2021, at 08:01 hours: “I was there on the steps in this pic. Capital police
           insights this. The crowd was not agitated until CP started tear gassing, pepper spraying
           and clubbing people.”

       •   January 7, 2021, at 08:06 hours: “Also. Those that caused damage were NOT patriots.
           Yea patriots did enter the capital. I have seen private video. But we also had
           infiltrators.”

       •   January 7, 2021, at 09:34 hours: “We left the hotel at 6:30am and didn’t get back till
           6:00pm. Do not believe the news media, we’re not rioters or mobs. There are close to
           a million people here today, if not MORE. People swarmed D.C from all across the
           nation, of all ages, races and backgrounds. If we intended to start a riot, there wouldn’t
           be a building left, just saying. Yet, not one building is burned, not one store looted, not
           one police car set on fire! Listening to the Congress makes my blood boil, they’re
           playing the victim cards. They blame Trump for today because they’re afraid, because
           earlier this morning Trump reminded them that people will remember them by their
           action today or we will start a new party. Trump represented us but he, moved their
           cheese, the stinky politicians. Afterwards, patriots marched all the way to the Capitol,
           chanting and singing the national anthem. The atmosphere makes you feel proud to be
           an American, ask anyone that was there, I guarantee you that’s what every single person
           will tell you. As we approached and gathered at the back of the Capitol, even after
           people occupied the high and low grounds, national anthem, Pledge of Allegiance,
           chantings for Trump, USA and singing of patriotic songs, singing hymns and praying
           are all that you hear. Then came the tear gas. I’m not going to comment much on that,
           the metro police might’ve felt threatened, or received orders, I don’t know. Tear gas
           frequency increased as it got closer to the curfew (which was enacted at 3pm today).
           That infuriated many of us. We’ve been the ones supporting the police, backing the
           police, but this is how we’re being treated? Nonetheless, we started dispersing. Most
           people made their ways back to the hotel. Again, NO burning or looting. Simply
           making our ways back to the hotels. You CAN’T convince me there was no voter fraud
           found when I stood on the street for 20mins and still couldn’t see the end of the crowd!”

        On January 6, 2021, JMIDDLETON posted multiple photos to her Facebook account
1542819018 (jalise.middleton) that were taken from various positions in the vicinity of the Capitol
building. These included three photos posted at 15:57 hours: a photo that JMIDDLETON claimed
depicted her face in the aftermath of being pepper sprayed; a photo of an unknown male sitting on
steps at the Capitol grounds; and a photo taken in close proximity to other unknown individuals
climbing scaffolding on the Capitol grounds.


                                                 11
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 12 of 15




       JMIDDLETON also posted comments from her Facebook account from January 6 to 8,
2021, corroborating the statements from MMIDDLETON’s aforementioned video, and providing
additional context for the photos posted by MMIDDLETON and JMIDDLETON:

      •   January 6, 2021, at 15:35 hours: “We fought the cops to get in the Capital and got
          pepper sprayed and beat but by gosh the patriots got in!”

      •   January 6, 2021, at 15:47 hours: [in response to the question “Are you safe?”] “Ya we
          were the first group to storm the capital. Just bruised and pepper sprayed”

      •   January 6, 2021, at 15:49 hours: “Me and my husband were on the front lines pushing
          into the capital and got past the fencing but then we got beat by a cop and pepper
          sprayed so we had to retreat but you see all our fellow patriots got in”

      •   January 6, 2021, at 15:50 hours: [in response to the question “Are ya’ll okay?”] “Yes
          but we made history and got everyone in”

      •   January 6, 2021, at 15:51 hours: [in response to the question “Why did they fight the
          cops?”] “To get in the Capital to send them bastards a clear message that this won’t be
          tolerated”

      •   January 6, 2021, at 15:59 hours: “We didn’t make it in. We got pepper sprayed while
          fighting on front line.”

      •   January 6, 2021, at 16:23 hours: “The best couldn’t be documented because we were
          all hands on deck”

      •   January 6, 2021, at 17:53 hours: “Patriots busted through barrierers to get in Capital.
          Best I know, there was no “looting or rioting “. We just sent a warning that we are
          serious. They did break windows to get in, but we’re not tearing anything up. It is

                                              12
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 13 of 15




           simply a notification that we can get to you, we mean business, do what’s right! Patriots
           don’t stoop low like Antifa”

       •   January 6, 2021, at 17:58 hours: [in response to the question “Did yall storm the capitol
           as well??”] “yes we didn’t get in. Just breached all the barriers, before being pepper
           sprayed and beat with billy clubs. We are ok”

       •   January 6, 2021, at 22:26 hours: [in response to the question: “Why would someone
           pepper spray him?”] “we were pushing through the barricades”

       •   January 7, 2021, at 12:41 hours: “cause I was up there pushing through the barricades
           with about a hundred other patriots when they started beating my husband with billy
           clubs, I went after the cop that did it, and was pepper sprayed before fellow comrades
           pulled me out of their grips. The tear gas was easy to push through and still see. It was
           windy so scouts in the scaffolding would holler take cover, we would cover our face,
           count to 10, and go again. But of course y’all know more. Truth doesn’t matter, it just
           has to fit your narrative. Patriots surged, just to show strength, Antifa went in to make
           ya look bad.”

       •   January 7, 2021, at 12:26 hours: “they weren’t there either. They are adding their
           Narratives to the videos. I was there, I was pepper sprayed, I was on the front lines.
           They don’t know nothing!!!”

       •   January 8, 2021, at 09:21 hours: [in reference to the above-provided photo of Jalise
           Middleton’s face posted at 15:57 hours on January 6, 2021] “but that pic was after
           getting pepper sprayed. I whizzed through the tear gas”

        On or about January 21, 2021, your affiant interviewed a tipster who stated that ITS
daughter is a personal acquaintance of JMIDDLETON and “friends” with JMIDDLETON on
Facebook. The tipster reported that ITS daughter had seen numerous posts and photos on
JMIDDLETON’s Facebook page following the Capitol riots indicating that JMIDDLETON had
participated in the riot. The tipster further reported that JMIDDLETON deleted the
aforementioned posts detailing her participation in the riot about two days after posting them.

        On or about February 23, 2021, your affiant interviewed another tipster who reported that
an acquaintance of ITS mother informed IT that ITS mother had travelled to Washington, DC on
or about January 6, 2021, with a group of people including MMIDDLETON and JMIDDLETON.
According to the tipster, the acquaintance of ITS mother is a family member of MMIDDLETON
and JMIDDLETON and knew MMIDDLETON and JMIDDLETON had travelled to Washington,
DC based on their Facebook posts and comments. Based on those posts and comments, the tipster
said the acquaintance of ITS mother also believed that MMIDDLETON and JMIDDLETON had
an altercation with a police officer at the Capitol.

        On or about January 6, 2021, JMIDDLETON posted several photos to her Facebook
account documenting her and MMIDDLETON’s visit to Washington, DC. Your affiant compared
several of those photos to the above BWC footage, and can confirm that the individuals in the
photos resemble the individuals seen assaulting T.T. and R.C. in the BWC footage.

                                                13
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 14 of 15




       Your affiant has also compared the BWC footage to passport application photos submitted
by MMIDDLETON and JMIDDLETON and can confirm that the individuals in the passport
photos resemble the individuals in the BWC footage.

                                        Probable Cause

     Based on the foregoing, your affiant submits that there is probable cause to believe that
JMIDDLETON violated the following:

       1. 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose,
          impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114 as an
          officer or employee of the United States while engaged in or on account of the
          performance of official duties. Persons designated within section 1114 include any
          person assisting an officer or employee of the United States in the performance of their
          official duties.

       2. 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any
          act to obstruct, impede, or interfere with any fireman or law enforcement officer
          lawfully engaged in the lawful performance of his official duties incident to and during
          the commission of a civil disorder which in any way or degree obstructs, delays, or
          adversely affects commerce or the movement of any article or commodity in commerce
          or the conduct or performance of any federally protected function. For purposes of
          Section 231 of Title 18, a federally protected function means any function, operation,
          or action carried out, under the laws of the United States, by any department, agency,
          or instrumentality of the United States or by an officer or employee thereof. This
          includes the Joint Session of Congress where the Senate and House count Electoral
          College votes.


                                               14
       Case 1:21-cr-00367-RDM Document 1-1 Filed 04/16/21 Page 15 of 15




       3. 18 U.S.C. §§ 1512(c)(2) and 2, which makes it a crime to corruptly obstruct, influence,
          or impede any official proceeding, or attempt to do so. For purposes of Section 1512
          of Title 18, an official proceeding includes proceedings before Congress (18 U.S.C. §
          1515(a)(1)(B)).

       4. 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime, with respect to
          subdivision (a)(1), to knowingly enter or remain in any restricted building or grounds
          without lawful authority to do so; with respect to subdivision (a)(2) to knowingly, and
          with intent to impede or disrupt the orderly conduct of Government business or official
          functions, engage in disorderly or disruptive conduct in, or within such proximity to,
          any restricted building or grounds when, or so that, such conduct, in fact, impedes or
          disrupts the orderly conduct of Government business or official functions; and with
          respect to subdivision (a)(4) to knowingly engage in any act of physical violence
          against any person or property in any restricted building or grounds; or attempt or
          conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building”
          includes a posted, cordoned off, or otherwise restricted area of a building or grounds
          where the President or other person protected by the Secret Service, including the Vice
          President, is or will be temporarily visiting; or any building or grounds so restricted in
          conjunction with an event designated as a special event of national significance.

       5. 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage
          in an act of physical violence in the Grounds or any of the Capitol Buildings.

        As such, your affiant respectfully requests that the court issue an arrest warrant for
JMIDDLETON. The statements above are true and accurate to the best of my knowledge and
belief.

                                                     Respectfully submitted,




                                                     _________________________________
                                                     Nicholas Shepard
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16th day of April 2021.
                                                                      2021.04.16
                                                                      14:59:52 -04'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




                                                15
